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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO
JESSIE ANDREW HOPPER, JR.,

Petitioner,

Vv. Civ. No. 20-0589 KG/JHR
CR No. 14-2130 KG/JHR

UNITED STATES OF AMERICA,

Respondent.

JUDGMENT

This matter, having come before the Court on Movant Jessie Hoppers, Jr.’s Motion under
28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody (CV
Doc. 1; CR Doc. 344) and the Court having entered its Order Adopting the Proposed Findings
and Recommended Disposition and Granting the Motion (CV Doc. 7; CR Doc. 359), having
dismissed Count 3 of the Superseding Indictment without Prejudice (CV Doc. 10; CR Doc. 376),
and having amended the judgment in the criminal case (CR Docs. 378, 379), IT IS ORDERED
that JUDGMENT is hereby entered in favor of Movant. This matter is dismissed with prejudice

under the Rules Governing Section 2255 Proceedings for the United States District Courts.

